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IN THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF COLUMBIA

WASHINGTON COUNTY, VIRGINIA,
a political subdivision of the
Commonwealth of Virginia,

County Administration Building

205 Academy Drive

Abingdon, Virginia, 24210

Plaintiff,
V.

MICHAEL B. MUKASEY
Attorney General of the

United States of America,

GRACE CHUNG BECKER,
Acting Assistant Attorney General,
Civil Rights Division,

United States Department of Justice,
Washington, DC, 20530

Civil Action No. 1:08-cv-01112
RMU-ESH-JRB
(three-judge court)

Defendants.

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JOINT MOTION FOR ENTRY OF CONSENT JUDGMENT AND DECREE

The Plaintiff Washington County, Virginia, and the Defendants Michael B.
Mukasey and Grace Chung Becker, through counsel, respectfully move this three-judge
Court for entry of the attached Consent Judgment and Decree. As grounds for this
motion, the parties would show unto this Court the following:

1. This ts an action in which Washington County, Virginia seeks a bailout from

coverage under Section 4 of the Voting Rights Act of 1965, as amended, 42

U.S.C. § 1973(b).

to

The defendants have consented to the requested bailout and the proposed Consent

Judgment and Decree would grant a bailout to Washington County.
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3. The proposed Consent Judgment and Decree is nearly identical to those that have
been entered by other three-judge courts in declaratory judgment actions brought
under Section 4 of the Voting Rights Act, as amended, 42 U.S.C. § 1973(b). See,
e.g., Amherst County, Virginia v. Mukasey, C.A. No. 08-00780 (D.D.C. August
13, 2008); Middlesex County, Virginia v. Gonzales, No. 07-1485 (D.D.C. January
7, 2008); Augusta County, VA v. Gonzales, C.A. No. 05-1885 (D.D.C. 2005);
Greene County v. Ashcroft, C.A. No. 03-1877 (D.D.C. Jan. 19, 2004): City of
Harrisonburg v. Ashcroft, C.A. No. 02-00289 (D.D.C. April 17, 2002); City of
Winchester, VA v. Ashcroft, C.A. No. 00-3073 (D.D.C. May 31, 2001); Roanoke
County, VA vy. Reno, C.A. No. 00-1949 (D.D.C. January 24, 2001); and City of
Fairfax v. Reno, C.A. No. 97-2212 (D.D.C. October 21, 1997). As in those
actions, this motion is based on the Stipulation of Facts which is being filed
simultaneously herewith.

WHEREFORE, Plaintiff and Defendants respectfully pray that this Joint Motion

be granted.

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Respectfully submitted,

For the Plaintiff Mises Lh

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